Case 1:23-cr-00154-TSC Document 5 Filed 05/10/23 Page 1 of 1

AO 442 (Rev. 0109) Arvest Warent loizoriy

U.S. MARSHAL pWNJTRD STATES DISTRICT COURT

 

RECEIVED MAY 10°23 for the
District of Columbia
United States of America ;
¥.
)
ERIC JONES Case No. CR 23-154
)
Defendant
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before e United States magistrate judge without unnecessary delay

fnaze of person to be arrested) ERIC JONES ,
who is accused of an offense or violation based on the following document filed with the court:

@ Indictment © Superseding Indictment © Information © Superseding Information © Complaint
© Probation Violation Petition CO} Supervised Release Violation Petition © ©Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 922(9){4) - Unlawful Possession of a Firearm and Ammunition by a Person Convicted of a Crime Punishabie
of Imprisonment for a Term Exceeding One Year

- Digitally signed by

 

 

 

 

 

 

bate: osmapnes Zia M. Faruqui 773 m. Faruqui
issuing officer's signature
City and state: _ Washington, DC ZIA M. FARUQUI, U.S, Magistrate Judge
Printed name and title
Return
This warrant was received on (date) , and the person was arrested on (date) go.
at (elty and state) pe pa .
-— oe

Date: {afer

 

Arresting ‘s signature
Lit, y OysM

Printed name and title

 

 

 
